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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 21-CV-60668-XXXX

 ELENA ZHADANOVA,
 Plaintiff,

 v.

 WAL-MART STORES EAST, L.P.
 Defendant.

 _______________________________/

                    JOINT NOTICE OF SELECTION OF MEDIATOR AND
                            SCHEDULING OF MEDIATION

        PLAINTIFF, Elena Zhadanova and DEFENDANT, Wal-Mart Stores East, L.P., pursuant
 to the Joint Scheduling report submitted on May 17, 2021 give notice of selecting a mediator,
 date and time, which is as follows:


        Mediator:       Gary Dickstein
        Date:           February 3, 2021
        Time:           10:00


                                  CERTIFICATE OF SERVICE
 I HEREBY CERTIFY that a true and correct copy of the foregoing has been served via the
 Florida Courts E-Filing Portal to all of those subscribed therein for the instant action, on this 16th
 day of July, 2021.

                                                /s/ Ryan N. Chae, Esq.
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